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16                              UNITED STATES DISTRICT COURT

17                           NORTHERN DISTRICT OF CALIFORNIA

18   IN RE: ROUNDUP PRODUCTS                    MDL No. 2741
     LIABILITY LITIGATION
19                                              Case No.: 3:16-mp-02741-VC

20   Robert Cotter, et al. v. Monsanto Co.,     DEFENDANT MONSANTO COMPANY’S
                                                REPLY IN SUPPORT OF ITS MOTION
     Case No. 3:20-cv-03108-VC                  TO EXCLUDE TESTIMONY OF DR. D.
21
                                                BARRY BOYD
22
                                                Hearing:
23                                              Date: March 1, 2024
                                                Time: 10:00 a.m.
24                                              Place: San Francisco Courthouse,
                                                       Courtroom 4 – 17th Floor
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 1    I.    INTRODUCTION
 2           Plaintiff’s opposition (“Opposition”) largely ignores the core points of Monsanto’s
 3    Motion, or else reaffirms the aspects of Dr. Boyd’s opinions that render them unreliable. Plaintiff
 4    contends that because Dr. Boyd said he performed a differential diagnosis, his opinions are
 5    beyond reproach. However, claiming to apply a differential diagnosis does not equate to a
 6    properly conducted differential diagnosis. Dr. Boyd’s differential diagnosis strays far from any
 7    conventionally accepted method as his process does not reliably rule-in Roundup, but instead is
 8    merely designed to lead to his pre-ordained conclusion. Engaging in a flawed “always Roundup”
 9    methodology, Dr. Boyd determines Roundup to be the cause while not seriously considering
10    Plaintiff’s numerous and substantial non-Roundup risk factors for NHL. As such, Dr. Boyd’s
11    specific causation opinion must be excluded. See Chapman v. Procter & Gamble Distrib., LLC,
12    766 F.3d 1296, 1311 (11th Cir. 2014) (affirming exclusion of expert witness who “failed to
13    consider obvious alternative causes for [plaintiff’s condition]”).
14    II.   ARGUMENT
15          A. Dr. Boyd Fails to Reliably Rule In Roundup
16           As an initial matter, Monsanto does not dispute that a differential diagnosis is an
17    admissible and generally accepted technique. (See Opp. at 3-4.) Instead, Monsanto disputes that
18    Mr. Boyd’s opinions are grounded on a properly conducted differential diagnosis.
19           Plaintiff claims that Dr. Boyd properly ruled in Roundup based on his “exposure days”
20    methodology. But Dr. Boyd fails to calculate the specific dose that Plaintiff experienced, which
21    must be considered when “evaluating whether an alleged exposure caused a specific adverse
22    effect.” See, e.g., McClain v. Metabolife Intern., Inc., 401 F.3d 1233, 1242 (11th Cir. 2005)
23    (“Dose is the single most important factor to consider in evaluating whether an alleged exposure
24    caused a specific adverse effect.”). Plaintiff’s Opposition also fails to squarely address
25    Monsanto’s argument that courts have routinely excluded experts who fail to establish dose and
26    instead rely only on exposure. See, e.g., McClain, 401 F.3d at 1239 (excluding expert as
27    unreliable as the expert “neglect[ed] the hallmark of the science of toxic torts—the dose-
28    response relationship.”); In re Denture Cream Prod. Liab. Litig., 795 F. Supp. 2d 1345, 1353
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 1    (S.D. Fla. 2011) (excluding expert testimony where “there is no dose-response evidence which
 2    Plaintiffs’ experts may use to reliably infer what type of exposure level” would cause the injury).
 3           Plaintiff’s Opposition also misconstrues Monsanto’s argument that Dr. Boyd’s opinions
 4    are unreliable because he improperly relied on the opinions of another expert, Dr. Herrick. (Opp.
 5    at 4.) Monsanto does not dispute that experts can rely on another expert’s opinions. Instead,
 6    Monsanto contends that any such reliance must be based on opinions that are reliable. Here,
 7    Plaintiff does not address any of Monsanto’s contentions that the expert opinion that is the
 8    cornerstone of Dr. Boyd’s opinions – Dr. Herrick’s “exposure days” analysis – is unreliable.
 9           First, Dr. Herrick’s analysis does not measure dose or even the actual amount of
10    Roundup to which Plaintiff was exposed. (See Ex. P, Herrick (Cotter) Dep. at 48:5-9; 48:13-
11    49:2; 124:1-8; 166:17-21; 167:7-13.) It also does not account for Plaintiff’s dermal absorption
12    rate, id. at 90:1-11; 100:4-19; 100:20-101:3 or inhalation levels of glyphosate, id. at 35:14-21;
13    155:18-20. Instead, Dr. Herrick simply read Plaintiff’s testimony and counted the number of
14    days Plaintiff claimed to spray Roundup. See Ex. P, Herrick (Cotter) Dep. at 23:6-16, 25:2-
15    26:21. But the number of days a person claims to have sprayed Roundup says nothing about the
16    amount of Roundup in that person’s body – especially where, as here, Dr. Herrick did not
17    consider crucial metrics of dose, such as method of application, the PPE used by Plaintiff, or
18    even the concentration of Roundup that Plaintiff used. For this reason, Dr. Herrick admits, as he
19    must, that his exposure days methodology does not relate to the actual biological level in
20    humans. See Ex. P, Herrick (Cotter) Dep. at 82:24-83:6. Furthermore, Dr. Herrick admitted that
21    he did not consider, or make adjustments for, Plaintiff’s use of personal protective gear in his
22    analysis despite acknowledging that such factors may reduce a person’s exposure to Roundup.
23    See id. at 117:23-121:3, 196:12-24; see also id. at 120:4-121:8 (respirator mask reduces
24    inhalation exposure to Roundup), 121:4-24 (surgical mask).
25           Dr. Herrick further admits that he did not account for Plaintiff’s use of personal
26    protective gear despite acknowledging that the use of personal protective gear could have far
27    lowered Plaintiff’s exposure to Roundup. See id. at 96:1-17. Dr. Herrick admitted that failure to
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 1    account for this method of application would mean that his exposure estimates could be higher
 2    than Mr. Cotter’s actual exposure. See id.
 3           Moreover, Dr. Herrick’s exposure analysis is unreliable because the analysis is based on
 4    assumed exposure metrics and not on Plaintiff’s actual exposure to Roundup. See, Ex. P, Herrick
 5    (Cotter) Dep. at 113:15-116:24. Dr. Herrick testified that he simply assumed certain exposure
 6    inputs when conducting the exposure analysis for Mr. Cotter. See Ex. P, Herrick (Cotter) Dep.
 7    at 113:15-116:24.
 8          Q. And based on that testimony, you have assumed that 30 minutes a day could
            mean 30 minutes per house a day, and thus you’ve reached a four-hour and eight-
 9          hour midpoint in high-exposure hypothetical. Is that a fair statement?
10          A. Yeah, that’s a fair statement. That’s sort of how I interpreted the way this line
            of questioning was going, that that was his daily use on each property.
11
            Q. Again, just so the record’s clear, you didn’t ask him in your interview on June
12          10 to clarify whether he meant 30 minutes in a total day on all the places he went
            to versus 30 minutes per house in a day, right?
13
            A. No, I didn’t ask him that.
14
            ***
15
            Q. Okay. Hypothetically, if Mr. Cotter meant that he only applied Roundup 30
16          minutes throughout his day on a typical day as opposed to 30 minutes per property,
            you would agree with me that the 1,700 – 1,700 time-weighted day figure and the
17          3,320 time-weighted day figure would both be gross overestimates of his time-
            weighted exposure days? Would you agree with that?
18
            A. They would be – Yeah they – they would be if you adjusted for spraying a shorter
19          period of time each day, then those values would be lower.
20           Id. at 115:5-116:24.
21           Accordingly, Dr. Herrick’s opinions are unreliable, and because Dr. Boyd relies entirely
22    on Dr. Herrick’s opinions to rule in Roundup, there are no additional grounds upon which Dr.
23    Boyd’s specific-causation opinions can stand.1
24           Plaintiff also contends that Dr. Boyd properly “ruled-in” Roundup as a cause of
25    Plaintiff’s NHL because of Plaintiff’s “substantial exposure to Roundup[.]” (Opp. at 7). But this
26    argument is entirely circular. Dr. Boyd cannot rule in Roundup simply because Plaintiff used it.
27
      1
       Monsanto has filed a motion to exclude Dr. Herrick’s opinions on this very basis. See Dkt. No.
28    17,617.
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 1    Instead, he must establish that Plaintiff was exposed to an amount of Roundup sufficient to cause
 2    NHL. See McClain, 401 F.3d at 1244 (holding that an expert must “show that Plaintiffs had
 3    sufficient individual exposure [] to cause the medical problems”); see also Mitchell v. Gencorp
 4    Inc., 165 F.3d 778, 781 (10th Cir. 1999). And he cannot do this as he fails to consider dose and
 5    instead relies on an exposure days methodology, which is insufficient. See Williams v. Mosaic
 6    Fertilizer, LLC, 889 F.3d 1239, 1246 (11th Cir. 2018) (affirming exclusion of expert where
 7    expert “never conducted an independent dose calculation” and “failed to demonstrate a scientific
 8    basis for concluding that those exposure levels would likely produce, contribute to, or exacerbate
 9    [plaintiff’s] conditions.”)
10            Finally, Monsanto’s argument that “Dr. Boyd’s use of certain studies and datapoints
11    violates the weight of the evidence of review he purports to be applying” is not an argument as
12    to the weight (rather than admissibility of Dr. Boyd’s opinions), as Plaintiff suggests. (Opp. at
13    5.) Instead, as stated in Monsanto’s opening brief, Dr. Boyd cherry-picked literature and data
14    points in reaching his opinions, in the face of the near totality of literature finding that Roundup
15    does not cause NHL. Such cherry-picking renders Dr. Boyd’s opinions wholly unreliable. See
16    In re Bextra & Celebrex Mktg. Sales Practices & Prods. Liab. Litig., 524 F.Supp.2d 1166, 1175–
17    76, 1179 (N.D.Cal.2007) (holding that experts may not “cherry -pick[ ]” studies to support a
18    conclusion that is contradicted by others); see also In re Lipitor (Atorvastatin Calcium) Mktg.,
19    Sales Pracs. & Prods. Liab. Litig., 892 F.3d 624, 634 (4th Cir. 2018) (“Result-driven analysis,
20    or cherry-picking, undermines principles of the scientific method and is a quintessential example
21    of applying methodologies (valid or otherwise) in an unreliable fashion. Courts have
22    consistently excluded expert testimony that cherry-picks relevant data”) (internal quotation
23    marks and citation omitted). Rather under Daubert, Dr. Boyd’s opinions must be excluded
24    because they do not reliably rule-in Roundup as a cause of Plaintiff’s NHL. See Siharath v.
25    Sandoz Pharms. Corp., 131 F. Supp. 2d 1347, 1371 (N.D. Ga. 2001) (excluding expert witness
26    for failure to reliably rule in product).
27

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 1           B.      Dr. Boyd Fails to Reliably Rule Out Alternative Causes
 2           Plaintiffs’ argument that Dr. Boyd’s handling of alternative causes goes to weight and
 3    not admissibility is fundamentally incorrect. Where, as here, an expert fails to meaningfully rule
 4    out alternative causes, his opinions should be excluded. Guinn v. AstraZeneca Pharms. LP, 602
 5    F.3d. 1245, 1254 (11th Cir. 2010) (“A differential diagnosis that fails to take serious account
 6    of other potential causes may be so lacking that it cannot provide a reliable basis for an opinion
 7    on causation”) (emphasis added).
 8           Here, as part of his differential diagnosis, Dr. Boyd fails to take serious account of
 9    several known alternative causes of Plaintiff’s NHL – (1) Plaintiff’s age, gender and ethnicity;
10    (2) exposure to other chemicals; (3) family history of cancer; and (4) naturally-occurring genetic
11    mutations due to replication errors. Although such alternative causes are clear risk factors for
12    Plaintiff’s NHL, Dr. Boyd summarily rules them out, simply stating that his analysis is
13    predicated on the “essential exclusion of other potential risk factors [] that could be causative[.]”
14    (Ex. C, Boyd Rpt. at 25.) However, a properly conducted differential diagnosis requires the
15    expert to “systematically rul[e] out causes that would not apply to the patient” to arrive “at what
16    is the likely cause of the ailment.” Myers v. Ill. Cent. R.R. Co., 629 F.3d 639, 644 (7th Cir.
17    2010); see Guinn, 602 F.3d at 1253 (holding that an expert’s opinion was properly excluded
18    where the differential diagnosis failed to consider alternative causes and was deemed
19    unreliable).
20           Dr. Boyd’s failure to meaningfully consider Plaintiff’s risk factors demonstrates that he
21    has employed a flawed, results-driven “always Roundup” methodology—precisely the type of
22    unconventional approach that should be excluded.
23                   1. Age, gender, and ethnicity.
24           Plaintiff is a Caucasian male who was diagnosed with NHL at 57 years old. Dr. Boyd
25    testified that Plaintiff’s age, gender, and ethnicity put him at an increased risk of developing
26    NHL. See Ex. B, Boyd (Cotter) Dep. at 84:20-91:12; see also Ex. C, Boyd Rpt. at 14. But Dr.
27    Boyd offers only a threadbare explanation as to why, “with the exception of age, the other
28    nonmodifiable risk factors cannot explain the development” of Plaintiff’s NHL. Ex. C, Boyd
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 1    Rpt. at 22. Dr. Boyd testified that the risk factors were merely “partial explanations, but not
 2    necessarily complete.” See Ex. B, Boyd (Cotter) Dep. at 91:19-92:4; see also Opp. at 7.
 3    However, just because race and gender are merely “partial explanations” for Plaintiff’s NHL
 4    does not demonstrate that Dr. Boyd did meaningfully consider these risk factors. (Opp. at 7.)
 5    To the contrary, it demonstrates that he cannot rule them out. Dr. Boyd’s failure to take serious
 6    account of these factors – which he admits are risk factors for NHL – renders his opinions
 7    unreliable. Guinn, 602 F.3d at 1253.
 8                  2. Exposure to other chemicals and herbicides.
 9            Plaintiff argues that Dr. Boyd considered and ruled out Plaintiff’s exposure to other
10    chemicals and herbicides as an alternative cause of Plaintiff’s NHL. Plaintiff claims that Dr.
11    Boyd ruled out Plaintiff’s exposures to other chemicals as a cause of Plaintiff’s NHL on the
12    basis Plaintiff’s exposures to other chemicals was limited since they were used less frequently
13    and based on the method of their application. (Opp. at 5-6.) By contrast, however, Dr. Boyd did
14    not account for the method of application in ruling in Roundup. Furthermore, Dr. Boyd testified
15    that Plaintiff’s exposure to other chemicals, namely Eliminate-D, was not a trivial amount and
16    that active ingredients in certain chemicals were associated with an increased risk of NHL. See
17    Ex. B, Boyd (Cotter) Dep. at 99:23-100:6, 104:10-25. Plaintiff’s Opposition makes no attempt
18    to dismiss the contradiction. (Opp. at 5-6.) Moreover, Dr. Boyd relies entirely on Dr. Herrick’s
19    exposure analysis, which Dr. Herrick testified that he simply assumed certain exposure inputs
20    when conducting the exposure analysis for Plaintiff. Ex. Q, Boyd (Cotter) Dep. at 115:5-116:24.
21    Thus, in deferring to Dr. Herrick for his exposure analysis, Dr. Boyd failed to consider Mr.
22    Cotter’s actual exposure to Roundup. Thus, Dr. Boyd’s failure to meaningfully consider
23    Plaintiff’s exposure to other chemicals renders his methodology unreliable. Guinn, 602 F.3d at
24    1253.
25                  3. Family history of cancer.
26            Plaintiff has had skin cancer. Plaintiff also has a family history of cancer in several
27    relatives, including his father, brother, sister, and uncle. See Ex. B, Boyd (Cotter) Dep. at 81:20-
28    82:19; 92:19-94:5. Dr. Boyd testified that he ruled out Plaintiff’s family history of cancer as an
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 1    alternative cause of his NHL simply because “[n]one of those are specifically related to risks for
 2    – as a genetic predictor of lymphomas.” Id. at 81:20-82:19, 93:10-24. But confusingly, Dr.
 3    Boyd relies on literature contradicting such testimony. For instance, Boyd relies on the
 4    McDuffie study, and cites to it in his report, which found an increased risk of NHL when a first-
 5    degree relative had any type of cancer. See Ex. C, Boyd Report at 17, n. 59; see also Ex. I,
 6    McDuffie, et al., Non-Hodgkin’s Lymphoma and Specific Pesticide Exposures in Men: Cross-
 7    Canada Study of Pesticides and Health, 10 Cancer Epidemiology, Biomarkers & Prevention
 8    1155, 1160 (2001). Plaintiff’s Opposition does not address the contradiction but simply
 9    reiterates the Boyd Report. (See Opp. at 6.)
10                  4. Naturally-Occurring Mutations.
11           Dr. Boyd offers no basis to rule out idiopathic causes (including naturally-occurring
12    genetic mutations) as the cause of Plaintiff’s NHL. Plaintiff contends that Dr. Boyd reliably
13    ruled out naturally-occurring mutations because “differential diagnoses are appropriate even
14    when there is a high rate of unknown causes” and where “the expert cannot completely rule out
15    idiopathic causes.” (Opp. at 7-8.) But Plaintiff’s argument misunderstands the relevant science.
16    Naturally-occurring mutations are themselves a cause of NHL. As this Court has recognized,
17    Monsanto’s evidence regarding naturally-occurring genetic mutations is offered to rebut the
18    testimony of Plaintiffs’ specific causation experts who, like Dr. Boyd, simply rule-in Roundup
19    based on their conclusion that a plaintiff did not have other risk factors:
20          THE COURT: . . . why does Monsanto want to put this witness on at trial? The
21          answer to me, it seems, is obvious; right? You have these specific causation experts
            who are doing a very sketchy job of differential diagnosis or differential etiology.
22          And basically, what they are saying is, well, you know, there are these four risk
            factors for NHL, and the patient didn’t have these three risk factors. The only risk
23          factor was exposure to Roundup. Therefore, the Roundup caused the patient’s
            NHL; right? I mean, that is – I’m oversimplifying a little bit. I mean, they’re
24
            finessing it a little bit. But effectively, that seems to be what the – that’s the message
25          from these specific causation experts.

26          That type of testimony is obviously quite sketchy, and you know, Tomasetti’s
            testimony helps a juror understand why the testimony of these specific causation
27          experts is so sketchy; right?
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 1    See Hsu Decl., Ex. O, 12/12/23 Daubert Hr’g. Tr. re: Dr. Christian Tomasetti in Delorme-Barton
 2    (“Tomasetti Daubert Hr’g.”) at 157:5-22.          The Court has also recognized that evidence
 3    regarding naturally-occurring genetic mutations explains causation of NHL without regard to
 4    environmental factors:
 5          THE COURT: And what it’s been up until now, I think, is, well, the high percentage
            of NHL cases are idiopathic. And that’s a very abstract concept for the jurors, and
 6          you know, it’s easy for the plaintiff’s experts to sort of wave that away; right?
            …
 7          And you’re putting meat on the bones of what you’ve said previously which is that
            such a high percentage of NHL cases are idiopathic.
 8

 9    Id. at 158:17-25.

10          THE COURT: why isn’t it very helpful for the jury to hear that X percent of -- were
            high -- even if there’s no number attached to it -- a high percentage of the, you
11          know, cancer and a high percentage of NHL, you know, as is -- is -- can be
            attributed simply to these replication errors without regard to environmental
12          factors, and here’s how it works.
13    162:21-163:3.

14            Here, Dr. Boyd admits that spontaneous mutations may initiate cancer (see Ex. B, Boyd

15    (Cotter) Dep. at 78:15-79:17), and that he cannot rule out that Mr. Canning’s NHL was caused

16    by natural replication errors. Id. at 131:5-10. Thus, this is not a case where, as Plaintiff suggests,

17    Dr. Boyd “cannot completely rule out idiopathic causes.” (Opp. at 7.) Rather, it is a case where

18    Dr. Boyd admits that one potential cause of Plaintiff’s NHL is natural replication errors—a cause

19    that experts have testified causes approximately 95% of NHL in the population (see Hsu Decl.,

20    Ex. O, Tomasetti Daubert Hr’g. at 49:4-16; 57:6-16)—and where Dr. Boyd does not

21    meaningfully consider and rule out this alternative cause. Ex. B, Boyd (Cotter) Dep. at 78:15-

22    79:17; 131:5-10.

23            Plaintiff’s reliance on Wendell v. GlaxoSmithKline LLC does not save Dr. Boyd’s

24    opinions. First, the expert’s opinions in Wendell were predicated on a quantitative understanding

25    of a decedent’s dose of certain prescription drugs. Wendell v. GlaxoSmithKline LLC, 858 F.3d

26    1227 (9th Cir. 2017). Here, by contrast, Dr. Boyd’s opinions are based on an “exposure days”

27    analysis that wholly do not account for dosage. Moreover, the Wendell court held that although

28    the expert was unable to entirely rule out the possibility that plaintiff’s NHL might have been

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 1    idiopathic, “[h]e did not base that assumption on pure conjecture.” Wendell, 858 F.3d at 1235.
 2    But Dr. Boyd does not do the same. Here, Dr. Boyd testified that he could not rule out replication
 3    errors, which he admits can cause NHL, see Ex. B, Boyd (Cotter) Dep. at 131:5-10, and which
 4    explain a significant number of NHL cases that would previously have been classified as
 5    idiopathic. See Ex. O, Tomasetti Daubert Hr’g. at 158:17-25. And, Dr. Boyd ignores extensive
 6    epidemiology data that shows no increased risk or no dose-response for NHL due to glyphosate
 7    exposure while admitting that he cannot rule out that Plaintiff’s NHL was caused by replication
 8    errors. See Ex. B, Boyd (Cotter) Dep. at 79:9-17, 131:5-10.
 9            As such, Dr. Boyd offers no reliable method in ruling out naturally-occurring genetic
10    mutations, and therefore, his opinion must be excluded. See, e.g., Guinn, 602 F.3d at 1253.
11                                             CONCLUSION
12            For the foregoing reasons, the Court should grant Monsanto’s motion to exclude
13    Plaintiff’s specific causation expert Dr. Boyd.
14

15    Dated: January 22, 2024                      Respectfully submitted,
16                                                 BRYAN CAVE LEIGHTON PAISNER LLP
17
                                                   /s/ Linda C. Hsu
18                                                 Linda C. Hsu
                                                   Attorneys for Defendant Monsanto Company
19

20                                     CERTIFICATE OF SERVICE
21            I HEREBY CERTIFY that on this 22nd day of January 2024, a copy of the foregoing
22    was filed with the Clerk of the Court through the CM/ECF system, which sent notice of the
23    filing to all appearing parties of record.
24                                                 /s/ Linda C. Hsu
                                                   Linda C. Hsu
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